





TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-00-00401-CR







Carl Wayne Truan, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BURNET COUNTY, 33RD JUDICIAL DISTRICT


NO. 7987, HONORABLE GUILFORD L. JONES III, JUDGE PRESIDING







Appellant Carl Wayne Truan was placed on deferred adjudication community
supervision after he pleaded guilty to the unauthorized use of a vehicle.  See Tex. Penal Code
Ann. § 31.07 (West 1994).  The court later revoked supervision, adjudicated appellant guilty, and
assessed punishment at imprisonment for two years and a $5000 fine.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App.
1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d
137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We find nothing in the record that might arguably support the appeal.

The judgment of conviction is affirmed.



				____________________________________

				David Puryear, Justice

Before Justices Kidd, B. A. Smith and Puryear

Affirmed

Filed:   March 8, 2001

Do Not Publish


